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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

Vv.
Crim. No. 17-201-1 (ABJ)

PAUL J. MANAFORT, JR.,
Filed Under Seal

Defendant.

 

 

GOVERNMENT'S SUPPLEMENTAL MEMORANDUM WITH
RESPECT TO THE COURT’S FEBRUARY 13, 2019 RULING

The United States of America, by and through Special Counsel Robert S. Mueller, III,
submits this memorandum to address two issues arising from the Court’s February 13, 2019 oral
ruling that Manafort breached his plea agreement and intentionally lied during briefings with the
government and testimony before the grand jury.

\ Se,

The government seeks to bring to the Court’s attention additional evidence concerning one
prong of the third subject-matter area addressed in the February 13, 2019 ruling, which the Court’s
written order identifies as the defendant’s “multiple false statements to the FBI, the OSC, and the
grand jury concerning matters that were material to the investigation: his interactions and

communications with Kilimnik.” Order, at 3 (Doc. 509). Specifically at issue is the Court’s

finding that Manafort lied in claiming that he

After the hearing, on February 15, 2019, Rick Gates was interviewed by the Special

Counsel’s Office and, as discussed below, Gates confirmed tha
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Pn .! See February 15, 2019 Gates 302, at |
(Exhibit A). Gates stated that he did not [is
a ee
Lh ee eee

Gates stated, however, that he did not understand the i. - ane
Se ee =| but related to rae. as noted below.
See February 15, 2019 Gates 302, at 3 (Exhibit A). Gates does not know if |
aa eT on — Cae See See
aera Ta

As a result of learning new information about a possible [i ee i the
government again reviewed the available documentary evidence. The government had been aware
“1h RS ere ta a FY al
SS ee eS ee (Exhibit B), The government then
le RRR

(Exhibit C). Both eres had been provided to the defense as part of discovery on December

8, 2017. The Court referred to the | issue in the February 13, 2019 hearing.” During the

February 15, 2019 interview, Gates said he remembered that he used [i
SS 6. 2:20:

 

' As a result of media coverage of the breach litigation, Gates (through counsel) provided information to
the SCO ee ——— The government thereafter met with Gates on February 15 to debrief
him.
2 See February 13, 2019 Hr’g Tr. atl “Mr, Manafort said
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As discussed below, the government does not believe that this new evidence should affect

the Court’s ruling that Manafort lied with respect to the subject matter area in general or its finding

that Mant lic

ia The January 14, 2019 Declaration In Support of the Government’s Breach

Determination and Sentencing cited the following multiple strands of evidence in support of the

position that Manafort lied when he denied ee ee og _ |

nae: (1) Gates’ various statements documented in FD 302s (see Declaration § 54);
(2) Kilimnik’s emails referencing I (4. 7 55); (3) the fact
that Manafort and Gates (eH Lee eel: and (4) the fact that on

BEER 0. ia
(Declaration J 56). With respect to the [akc sa. the Declaration stated, (o-ies

I 1 1: ference the

aw | several occasions during the February 4 and 13 hearings, but did not rely solely

on I is ting

Because the government presented additional and sufficient evidence that Manafort lied

information and the EE should not alter the Court’s ruling. First, as noted, Gates has

provided consistent information that Manafort Sa ee |

Saye, and did so again at the February 15, 2018 debriefing. Gates’ information was

summarized in the February 15, 2019 Gates 302 as follows: aa a |

3 See February 13, 2019 Hr’g Tr. at see February 4, 2019 Hr’g Tr. at
* See, e.g., January 31, 2018 Gates 302, at 17 (Exhibit ; September 27, 2018 Gates 302, at 2 (Exhibit
a: February 7, 2018 Gates 302, at 15 ).

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a - a, Se a
ae mapa pas ee ee ee |
I February 15, 2019 Gates 302, at 1 (Exhibit A).

Second, as the Court found, Gates’ statements were corroborated by the Kilimnik emails,
which specifically referenced the ease Se ey and which were marked as
Government Exhibits a

Third, that Manafort and Catv ie ST Ss PER ne eee
hihi | fact not in dispute—also corroborates Gates’

statements. Of note, Gates again detailed the substance of ee | in his February
15, 2019 debriefing. The February 15, 2019 Gates 302 summarized his statements on this issue.
February 15, 2019 Gates 302, at 3-4 (Exhibit A). These statements are consistent with the
information previously provided by Gates.°

Fourth, Gates has again provided evidence that is helpful to Manafort at least with respect

tothe existence of the
| ep SeUCIEan aioe ilk The fact that Gates came forward to the government with this

information further bolsters his credibility.

Finally, Manafort’s statements to the government that he never would have told
at only told Gates to po eal is itself implausible:
it is hard to imagine that Gates, who worked for Manafort on the campaign and at DMI, would
have taken it on himself to a= =| without authorization or alerting his boss. In sum,

the government continues to submit that this subject matter area has been established

 

’See February 13, 2019 Hr’g Tr. at.
°See January 30, 2018 Gates 302, at 2-5 (Exhibit); see also February 13, 2019 Hr’g Tr. at “Exhibit

236, the 302 from January 2018, Gates says we discussed
EE 10502 prety specttc words)

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by a preponderance of the evidence and, in any event, the new information would not undermine
the Court’s conclusion as to the subject matter area as a whole.
). aa

The government also seeks to advise the Court that the reference in the February 13
transcript to la and [See | as PE should instead identify each
Fae While [Pere | is err. both parasol and =| are (= eee
22259 31, 2018 Gates
302, at 2 Exh
Se ae eee ee a ee ee rae
Se .. ."); see also February 12, 2018 Gates 302,
aS = a
(si)

* Ok Ok Ok

For the reasons cited, the government seeks to correct the record with respect to the Court’s

February 13, 2019, oral ruling based on the information above.

 

7See February 13, 2019 Hr’e Tr. at

    

 

 

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Dated: February 26, 2019

Respectfully submitted,

ROBERT S. MUELLER III
Special Counsel

By: /s/ Andrew Weissmann

Andrew Weissmann

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